Case: 1:17-md-02804-DAP Doc #: 1909-25 Filed: 07/19/19 1 of 1. PageID #: 88231




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                     )
 OPIATE LITIGATION                                )
                                                  )
 This document relates to:                        )
 The County of Summit, Ohio, et al. v. Purdue     )              MDL No. 2804
 Pharma L.P., et al., Case No. 18-op-45090        )
                                                  )        Hon. Judge Dan A. Polster
 and                                              )
                                                  )
 The County of Cuyahoga v. Purdue Pharma          )
 L.P., et al., Case No. 1:18-op-45004             )
                                                  )

  [PROPOSED] ORDER GRANTING DEFENDANTS ALLERGAN PLC, ALLERGAN
     FINANCE, LLC, ALLERGAN SALES, LLC, AND ALLERGAN USA, INC.’S
             INDIVIDUAL MOTION FOR SUMMARY JUDGMENT

       Upon consideration of Defendants Allergan plc, Allergan Finance, LLC, Allergan Sales,

LLC, and Allergan USA, Inc.’s Individual Motion for Summary Judgment, the opposition thereto,

and the reply in support thereof, it is hereby:

       ORDERED that Defendants Allergan plc, Allergan Finance, LLC, Allergan Sales, LLC,

and Allergan USA, Inc.’s Individual Motion for Summary Judgment is GRANTED.

       The clerk is directed to ENTER JUDGMENT for Defendants Allergan plc, Allergan

Finance, LLC, Allergan Sales, LLC, and Allergan USA, Inc. on all claims against them in the

actions identified in the caption above.



                                                               Hon. Dan A. Polster
                                                             United States District Judge
